           Case 2:14-cr-00220-KJM Document 427 Filed 10/10/18 Page 1 of 2
                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM

Honorable Kimberly J. Mueller                  RE: Wei Hu
United States District Judge                       Docket Number: 2:14CR00220-007
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Wei Hu is requesting permission to travel to Hong Kong. He is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 9, 2016, Wei Hu was sentenced for the offense
of 21 U.S.C. 846 and 841(a)(1), Conspiracy to Manufacture Marijuana (Class C Felony).


Sentence Imposed: 12 months and 1 day custody in Bureau of Prisons; 3 years Supervised
Release; and $100 Special Assessment (paid).


Dates and Mode of Travel: October 10, 2018, through October 31, 2018. Mode of travel is by
airline.


Purpose: Vacation.




                                                1
                                                                                               REV. 03/2017
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 2:14-cr-00220-KJM Document 427 Filed 10/10/18 Page 2 of 2

RE:      Wei Hu
         Docket Number: 2:14CR00220-007
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                       Respectfully submitted,




                                       ADRIAN GARCIA
                                  United States Probation Officer

Dated:     October 1, 2018
           Fresno, California
           AG/dp


REVIEWED BY:                     Tim D. Mechem
                                TIM D. MECHEM
                                Supervising United States Probation Officer



                                    ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved

Dated: October 9, 2018.
                                                       UNITED STATES DISTRICT JUDGE




                                                 2
                                                                                                   REV. 03/2017
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
